May 20, 2005


Ms. Alicia G. Curran
Burt Barr &amp; Associates, L.L.P.
P.O. Box 223667
Dallas, TX 75222-3667

Mr. Ethan L. Shaw
Moore Landrey L.L.P.
390 Park Street, Suite 500
Beaumont, TX 77701

Mr. Keith T. Gilbert
Gilbert &amp; Maxwell
P.O. Box 1984
Houston, TX 77251

Mr. Anthony Icenogle
DeLeon Boggins &amp; Icenogle, P.C.
221 West 6th Street, Suite 1050
Austin, TX 78701

Mr. Gerald L. Shiely
Thornton Summers Biechlin Dunham &amp; Brown
10100 Reunion Place, Suite 200
San Antonio, TX 78216

Mr. James Sowder
Thompson Coe Cousins &amp; Irons, LLP
700 N. Pearl Street, 25th Floor
Dallas, TX 75201-2832

Mr. Paul K. Nesbitt
Kelly Sutter &amp; Kendrick
3050 Post Oak Blvd., Suite 200
Houston, TX 77056-6570

Mr. Scott Coleman Skelton
Zeleskey Cornelius Hallmark Roper &amp; Hicks
P.O. Box 1728
Lufkin, TX 75902-1728

Ms. Veronica Carmona Czuchna
Jordan &amp; Carmona, P.C.
1801 S. Mopac Expressway, Suite 220
Austin, TX 78746-7576

Mr. Ernesto Gamez Jr.
Law Offices of Ernesto Gamez, Jr.
777 E. Harrison
Brownsville, TX 78520

Mr. James A. Holmes
Wellborn Houston Adkison Mann Sadler &amp; Hill
P.O. Box 1109
Henderson, TX 75653-1109

Mr. R. Stephen Woodfin
Law Ofice of Stephen Woodfin
1012 Houston St.
Kilgore, TX 75662


Mr. Brett T. Reynolds
Blakely &amp; Reynolds
1250 Northeast Loop 410, Suite 420
San Antonio, TX 78209

Mr. James H. Hunter Jr.
Royston Rayzor Vickery &amp; Williams, L.L.P.
P.O. Box 3509
Brownsville, TX 78523-3509


Mr. Kevin T. Crocker
Jackson Walker, LLP
901 Main Street, Suite 6000
Dallas, TX 75202

Mr. Robert B. Wellenberger
Thompson Coe Cousins &amp; Irons, L.L.P.
700 N. Pearl Street, 25th Floor
Dallas, TX 75201-2832


Mr. Wade Caven Crosnoe
Thompson Coe Cousins &amp; Irons, L.L.P.
701 Brazos, Suite 1500
Austin, TX 78701

RE:   Case Number:  04-0775
      Court of Appeals Number:  13-02-00354-CV
      Trial Court Number:  2001-12-5152-A

Style:      ACE AMERICAN INSURANCE COMPANY, ET AL.
      v.
      EAST SIDE SURGICAL CENTER, INC., ET AL.

Dear Counsel:

      Today, the Supreme Court of Texas granted the motion to abate  in  the
above-referenced case.  The case is abated until June 20, 2005.  It  is  the
responsibility of the parties to immediately notify  this  Court  about  any
changes in status in the  settlement  proceedings.   The  Court's  order  of
abatement is enclosed.
                                       Sincerely,
                                       [pic]


                                       Andrew Weber, Clerk


                                       by Gena Pelham, Deputy Clerk

Enclosure

|cc:|Ms. Cathy Wilborn  |
|   |Ms. Aurora De La   |
|   |Garza              |

